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                   8
                                               UNITED STATES DISTRICT COURT
                   9
                                          CENTRAL DISTRICT OF CALIFORNIA
                  10
                                                    EASTERN DIVISION
                  11
                       CARTER BRYANT, an individual,         CASE NO. CV 04-9049 SGL (RNBx)
                  12
                                  Plaintiff,                 Consolidated with
                  13                                         Case No. CV 04-09059
                            vs.                              Case No. CV 05-02727
                  14
                     MATTEL, INC., a Delaware                Hon. Stephen G. Larson
                  15 corporation,
                                  Defendant.                 [PUBLIC REDACTED]
                  16                                         DECLARATION OF B. DYLAN
                                                             PROCTOR IN SUPPORT OF
                  17                                         MATTEL, INC.'S EX PARTE
                       AND CONSOLIDATED ACTIONS              APPLICATION TO (1) COMPEL
                  18                                         DEPOSITIONS OF ELISE
                                                             CLOONAN, MARGARET HATCH-
                  19                                         LEAHY, AND VERONICA
                                                             MARLOW OR (2), IN THE
                  20                                         ALTERNATIVE, MODIFY THE
                                                             SCHEDULING ORDER
                  21
                                                             Date: November 16, 2007
                  22                                         Time: 10:00 a.m.
                                                             Place: Courtroom 1
                  23
                                                             Discovery Cut-Off: January 28, 2008
                  24                                         Pre-Trial Conference: May 5, 2008
                                                             Trial Date:           May 27, 2008
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                                                                     DECLARATION OF B. DYLAN PROCTOR
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                   1                     DECLARATION OF B. DYLAN PROCTOR
                   2               I, B. Dylan Proctor, declare as follows:
                   3               1.    I am a member of the bar of the State of California and a partner
                   4 of Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc.
                   5 ("Mattel"). I make this declaration of personal, firsthand knowledge, and if called
                   6 and sworn as a witness, I could and would testify competently thereto.
                   7               2.    Pursuant to Local Rule 7-19.1, I gave notice of this application to
                   8 counsel for Elise Cloonan, Margaret Hatch-Leahy and Veronica Marlow, Larry
                   9 McFarland of Keats McFarland & Wilson LLP (telephone: 310-248-3830; address:
                  10 9720 Wilshire Blvd., Beverly Hills, CA 90212), via telephone on November 14,
                  11 2007 and via letter on November 15, 2007, a true and correct copy of which is
                  12 attached hereto as Exhibit 1. Counsel opposes this application.
                  13               3.    I gave notice of this application to counsel for Carter Bryant,
                  14 Michael Page of Keker & Van Nest, LLP (telephone: 415-391-5400; address: 710
                  15 Sansome Street, San Francisco, CA 94111), counsel for MGA Entertainment, Inc.,
                  16 MGA (HK) Limited, MGAE de Mexico and Isaac Larian, Thomas J. Nolan of
                  17 Skadden, Arps, Slate, Meagher & Flom LLP (telephone: 213-687-5000; address:
                  18 300 S. Grand Ave., Los Angeles, CA 90071), and counsel for Gustavo Machado
                  19 Gomez, Alexander Cote of Overland Borenstein Sscheper & Kim, LLP (telephone:
                  20 213-613-4655; address: 300 S. Grand Avenue, Suite 2750, Los Angeles, CA 90071),
                  21 via letter on November 15, 2007. My colleague, Oleg Stolyar, also gave them
                  22 notice via telephone the same day. MGA's counsel opposes this application.
                  23 Bryant's counsel has indicated that he does not yet know whether he will oppose this
                  24 application. Mattel does not have knowledge of the position of Mr. Machado's
                  25 counsel with respect to this application.
                  26               4.    Attached as Exhibit 2 is a true and correct copy of relevant
                  27 excerpts from the transcript of the October 15, 2007 Status Conference before the
                  28 Court.
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                                                                              DECLARATION OF B. DYLAN PROCTOR
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                   1              5.    Attached as Exhibit 3 is a true and correct copy of a letter that
                   2 Susan Wines, my former partner, sent to Larry McFarland, counsel for Ms. Cloonan,
                   3 Ms. Leahy and Ms. Marlow, on June 1, 2007.
                   4              6.    Attached as Exhibit 4 is a true and correct copy of a letter that
                   5 Ms. Wines sent to Mr. McFarland on June 7, 2007.
                   6              7.    Attached as Exhibit 5 is a true and correct copy of a letter that
                   7 Ms. Wines sent to Mr. McFarland on June 25, 2007.
                   8              8.    Attached as Exhibit 6 is a true and correct copy of a letter that
                   9 Mr. McFarland sent to Ms. Wines on June 28, 2007.
                  10              9.    Attached as Exhibit 7 is a true and correct copy of a letter that
                  11 Ms. Wines sent to Mr. McFarland on September 4, 2007.
                  12              10.   Attached as Exhibit 8 is a true and correct copy of a letter that
                  13 Mr. McFarland sent to Ms. Wines on September 7, 2007.
                  14              11.   Attached as Exhibit 9 is a true and correct copy of a letter that
                  15 Ms. Wines sent to Mr. McFarland on September 14, 2007.
                  16              12.   Attached as Exhibit 10 is a true and correct copy of a letter that
                  17 Ms. Wines sent to Mr. McFarland on September 19, 2007.
                  18              13.   Attached as Exhibit 11 is a true and correct copy of a letter that
                  19 Mr. McFarland sent to Ms. Wines on September 20, 2007.
                  20              14.   Attached as Exhibit 12 is a true and correct copy of a letter that
                  21 Mr. McFarland sent to Ms. Wines on September 21, 2007.
                  22              15.   Attached as Exhibit 13 is a true and correct copy of a letter that
                  23 Ms. Wines sent to Mr. McFarland on September 21, 2007.
                  24              16.   Attached as Exhibit 14 is a true and correct copy of a letter that
                  25 Mr. McFarland sent to Ms. Wines on September 28, 2007.
                  26              17.   Attached as Exhibit 15 is a true and correct copy of a letter that
                  27 my partner, Michael T. Zeller, sent to Mr. McFarland on October 1, 2007.
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                                                                           DECLARATION OF B. DYLAN PROCTOR
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                   1              18.   Attached as Exhibit 16 is a true and correct copy of a letter that
                   2 Mr. McFarland sent to Mr. Zeller on October 4, 2007.
                   3              19.   Attached as Exhibit 17 is a true and correct copy of the October
                   4 15, 2007 Order Regarding Status Conference.
                   5              20.   Attached as Exhibit 18 is a true and correct copy of the October
                   6 31, 2007 Order Regarding Status Conference.
                   7              21.   Attached as Exhibit 19 is a true and correct copy of a letter that
                   8 Mr. McFarland sent to Mr. Zeller on October 16, 2007.
                   9              22.   Attached as Exhibit 20 is a true and correct copy of a letter that
                  10 Mr. Zeller sent to Mr. McFarland on October 16, 2007.
                  11              23.   Attached as Exhibit 21 is a true and correct copy of a letter that
                  12 Mr. McFarland's colleague, Christian C. Dowell, sent to Mr. Zeller on October 17,
                  13 2007.
                  14              24.   Attached as Exhibit 22 is a true and correct copy of a letter that
                  15 Mr. Zeller sent to Mr. McFarland on October 24, 2007.
                  16              25.   Attached as Exhibit 23 is a true and correct copy of a letter that
                  17 Mr. McFarland sent to Mr. Zeller on October 26, 2007.
                  18              26.   Attached as Exhibit 24 is a true and correct copy of a letter that
                  19 Mr. McFarland sent to Mr. Zeller on November 1, 2007.
                  20              27.   Attached as Exhibit 25 is a true and correct copy of a letter I sent
                  21 to Mr. McFarland on November 2, 2007.
                  22              28.   Attached as Exhibit 26 is a true and correct copy of a letter Mr.
                  23 McFarland sent to me on November 7, 2007.
                  24              29.   Attached as Exhibit 27 is a true and correct copy of a letter Mr.
                  25 McFarland sent to me on November 9, 2007.
                  26              30.   Attached as Exhibit 28 is a true and correct copy of a letter Mr.
                  27 McFarland sent to me on November 12, 2007.
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                   1              31.   Attached as Exhibit 29 is a true and correct copy of a letter I sent
                   2 to Mr. McFarland on November 13, 2007.
                   3              32.   Attached as Exhibit 30 is a true and correct copy of a letter Mr.
                   4 McFarland sent to me on November 14, 2007.
                   5              33.   Attached as Exhibit 31 is a true and correct copy of relevant
                   6 excerpts from MGA Entertainment, Inc.'s Rule 26(a) Disclosures.
                   7              34.   Attached as Exhibit 32 is a true and correct copy of relevant
                   8 excerpts from the deposition transcript of Paula Garcia, dated May 24, 2007.
                   9              35.   Attached as Exhibit 33 is a true and correct copy of relevant
                  10 excerpts from the deposition transcript of Richard Irmen, dated September 28, 2007.
                  11              36.   Attached as Exhibit 34 is a true and correct copy of relevant
                  12 excerpts from the deposition transcript of Carter Bryant, dated November 4-5, 2004.
                  13              37.   Attached as Exhibit 35 is a true and correct copy of relevant
                  14 excerpts from the deposition transcript of Anna Rhee, dated February 3, 2005.
                  15              38.   Attached as Exhibit 36 is a true and correct copy of an
                  16 accounting chart reflecting some of the Bratz-related payments received by
                  17 Veronica Marlow from MGA Entertainment Inc. and Carter Bryant, as produced by
                  18 Ms. Marlow on October 11, 2007.
                  19              39.   Attached hereto as Exhibit 37 is a true and correct copy of a
                  20 letter I sent to Alexander Cote, counsel for Mr. Machado, on October 18, 2007.
                  21              40.   Attached as Exhibit 38 is a true and correct copy of a letter that
                  22 Mr. Cote sent to Mr. Zeller on November 5, 2007.
                  23              41.   Attached hereto as Exhibits 39-41 are true and correct copies of
                  24 deposition subpoenas that Mattel served on Elise Cloonan, Margaret Hatch-Leahy
                  25 and Veronica Marlow on November 15, 2007.
                  26              42.   Attached hereto as Exhibit 42 is a true and correct copy of the
                  27 Order Granting Mattel's Motion to Compel MGA to Produce Witnesses for
                  28 Deposition Pursuant to Rule 30(b)(6), dated May 16, 2007.
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                                                                           DECLARATION OF B. DYLAN PROCTOR
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                   1              43.    Attached hereto as Exhibit 43 is a true and correct copy of the
                   2 Order Granting Mattel's Motion for an Extension of Time to Depose Paula Garcia in
                   3 Her Individual Capacity and as a 30(b)(6) Designee, dated August 14, 2007.
                   4              44.    Attached hereto as Exhibit 44 is a true and correct copy of Ms.
                   5 Leahy's Employment Application to MGA, as produced by MGA on October 17,
                   6 2007.
                   7              I declare under penalty of perjury under the laws of the United States of
                   8 America that the foregoing is true and correct.
                   9              Executed on November 15, 2007, at Los Angeles, California.
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                  11                                           /s/ Dylan Proctor
                                                               B. Dylan Proctor
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                                                                           DECLARATION OF B. DYLAN PROCTOR
